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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOANNE WOLFF, individually and on               No. 4:19-CV-01596
behalf of a Class of Similarly Situated
Individuals,                                    (Chief Judge Brann)

               Plaintiff,

      v.

AETNA LIFE INSURANCE
COMPANY,

                Defendant.

                                   ORDER

                             NOVEMBER 22, 2022

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

     1.    Aetna’s Motion for Reconsideration (Doc. 133) is GRANTED in part

           and DENIED in part;

     2.    The Court grants the motion to the extent that the class definition will

           be modified as provided below, but denies the motion in all other

           respects;

     3.    The amended class shall be:

                  All persons who, between August 8, 2013 and November
                  30, 2017, were members of a long-term disability benefits
                  plan insured and administered by Defendant Aetna Life
                  Insurance Company, were insured under a long-term
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           disability policy that did not identify personal injury
           recoveries as “Other Income Benefits,” were injured and
           received long-term disability benefits from Aetna Life
           Insurance Company as a result of an injury causing event,
           and as against whom Aetna Life Insurance Company
           sought or recovered reimbursement of such long-term
           disability benefits from funds received from the person’s
           personal injury recovery.

4.   The parties shall submit to the Court a proposed form of notice to the

     class that incorporates the amended class definition by Tuesday,

     December 6, 2022.




                                     BY THE COURT:


                                     s/ Matthew W. Brann
                                     Matthew W. Brann
                                     Chief United States District Judge




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